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                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

PNC BANK, N.A. and                            §
COLUMBIA HOUSING SLP                          §
CORPORATION, as limited partners in           §
2013 Travis Oak Creek, L.P.                   §
                                              §
       Plaintiffs,                            §    Civil Action No. 3:17-cv-01521
                                              §
v.                                            §
                                              §
2013 TRAVIS OAK CREEK GP, LLC,                §
2013 TRAVIS OAK CREEK                         §
DEVELOPER, INC.,                              §
CHULA INVESTMENTS, LTD.                       §
and RENE O. CAMPOS                            §
                                              §
                                              §
       Defendants.                            §


        PNC BANK, N.A.’S AND COLUMBIA HOUSING SLP CORPORATION’S
                CORPORATE DISCLOSURE STATEMENT AND
                   CERTIFICATE OF INTERESTED PERSONS

       Pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.1(c), Plaintiffs PNC

Bank, N.A. (“PNC”) and Columbia Housing SLP Corporation (“Columbia Housing”) provide

the following information:

       PNC states that its is wholly owned by PNC Financial Services Group, Inc., which is a

publicly held and traded corporation.

       Columbia Housing states that it is wholly owned by PNC Financial Services Group, Inc.,

which is a publicly held and traded corporation.

       PNC and Columbia Housing state that the following is a list of persons and entities who

are financially interested in the outcome of the above-captioned action: PNC Bank, N.A., PNC

Financial Services Group, Inc., Columbia Housing, 2013 Travis Oak Creek, L.P., 2013 Travis

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Oak Creek GP, LLC, 2013 Travis Oak Creek Developer, Inc., Chula Investments, Ltd., and Rene

O. Campos.



Dated: June 8, 2017.                     By: /s/ Robert M. Hoffman
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                                         SLP CORPORATION




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